Case 2:18-cr-00178-DBH Document 149 Filed 07/27/21 Page 1 of 6                    PageID #: 564




                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

UNITED STATES OF AMERICA                             )
                                                     )
     v.                                              )      Criminal No. 2:18-cr-178-DBH-001
                                                     )
SHOU CHAO LI                                         )

                                 PROSECUTION VERSION

       If this case were to proceed to trial, the government would prove that from about July 9,

2016 and continuing until at least December 2016, in the District of Maine and elsewhere, the

defendant conspired with his wife, Derong Miao, and others to engage in an interstate

prostitution scheme involving multiple female Chinese nationals, in violation of 18 U.S.C.

§§ 1952(a)(3), (b)(1), 2421, and 2422(a). The government would also prove that, at the same

time, the defendant violated the Mann Act, 18 U.S.C. §§ 2421(a) and 2, by aiding and abetting

the interstate transportation of the Chinese females for purposes of prostitution. The government

would prove the following facts through witness testimony, physical evidence, and documentary

evidence.

                                        BACKGROUND

       In the summer of 2016, the defendant, Shou Chao Li, and his wife, Derong Miao, were

Chinese nationals. They resided in New Hampshire in 2016 when they began engaging in an

interstate prostitution scheme involving multiple Chinese females in Maine, New Hampshire,

and Vermont. Most of the Chinese females entered the United States using B-2 Non-Immigrant

Visas (NIVs), which allow for temporary entry for purposes of pleasure, tourism, or medical

treatment. Individuals using B-2 NIVs are not permitted to work while in the United States, and

individuals who do so are in violation of law. Despite the illegality, some of the Chinese females

believed they could be employed, or at least hoped to be employed, outside the prostitution

                                                1
Case 2:18-cr-00178-DBH Document 149 Filed 07/27/21 Page 2 of 6                       PageID #: 565




industry, when they first arrived in the United States; however, due to a wide variety of

circumstances they were unable to earn a wage substantial enough to live and/or repay debts

associated with their travel to the United States. These Chinese females spoke little English and

had limited or no familiarity with, or contacts in, Maine and neighboring states, including New

Hampshire and Vermont.

                                       THE CONSPIRACY

       The object of the conspiracy was to make money by promoting and facilitating illegal

prostitution activity through the movement of Chinese females throughout Maine, New

Hampshire, and Vermont. It was part of the conspiracy that Chinese females in the United States

were identified to engage in prostitution. Towards that end, conspirators directed Chinese

females to contact Defendant Miao regarding locations being used as houses of prostitution.

Defendant Miao then primarily used WeChat, an online social media platform, to influence

Chinese females to work in the prostitution industry at these locations. The Chinese females

were expected to make payments to the Defendant Miao and her conspirators, including the

defendant, to cover the operating costs of their facilitation of the prostitution. Advertisements for

commercial sex were purchased and posted by conspirators outside Maine for these locations

utilized or financed by the defendant and his wife in Maine, New Hampshire, and Vermont

before the commercial sex acts were complete. Additionally, other conspirators communicated

directly with prospective prostitution customers who responded to the online advertisements and

arranged prostitution acts between the Chinese females and customers at the various locations

being utilized or financed by the defendant and his wife.

       Next, at the direction of other conspirators, the defendant and his wife facilitated and

caused travel, via ground transportation, of the Chinese females to various residences and hotels



                                                  2
Case 2:18-cr-00178-DBH Document 149 Filed 07/27/21 Page 3 of 6                      PageID #: 566




in Maine and New Hampshire. While working, the Chinese females were instructed by

conspirators to check in and provide periodic updates using WeChat after a customer arrived at

the hotel room or residence, when the customers had paid for the prostitution act, and after the

customer had left. Defendant Miao received those updates and then she and the defendant

benefitted financially from the prostitution of the Chinese females. Other conspirators kept

records on which online advertisements were associated with a particular location utilized by the

defendant and his wife; and the defendant and his wife then paid a portion of the proceeds gained

from each completed commercial sex act to the conspirators responsible for posting associated

advertisements for each location. Likewise, they paid another portion of the proceeds of

prostitution to the co-conspirators responsible for communicating with the customers and

arranging the commercial sex acts.

                                         OVERT ACTS

       In furtherance of the conspiracy, and in order to accomplish the purposes and objects

thereof, the defendant, and other known and unknown, committed or caused to be committed one

or more of the following overt acts, among others, in the District of Maine and elsewhere.

       On about the following dates, the Defendant and his wife leased identified residential

properties and utilized the properties as locations where acts of prostitution occurred:

       (1)     From about June 1 – July 18, 2016, the Defendant rented the residence located at
               5 Verrill Street in Portland, Maine.

       (2)     Beginning on about July 29, 2016, the Defendants rented the residence located at
               977 Brighton Avenue in Portland, Maine.

       (3)     Beginning on about August 1, 2016, the Defendants rented the residence located
               at 43 West Street in Manchester, New Hampshire.

       (4)     Beginning on about September 18, 2016, the Defendants rented the residence
               located at 87 Harrington Avenue in Manchester, New Hampshire (“the New
               Hampshire residence”).


                                                 3
Case 2:18-cr-00178-DBH Document 149 Filed 07/27/21 Page 4 of 6                      PageID #: 567




        Beginning no later than July 2016 and continuing into the fall of 2016, Defendant Miao

used WeChat to communicate with, and arrange for, Chinese females who were present in the

United States to engage in prostitution in New Hampshire and Maine, a region which the

defendant described generally as “the Boston area.”

        Once the Chinese females were identified and expressed interest, Defendant Miao

assisted with transportation and basic logistics which lead to several Chinese females traveling

interstate to engage in prostitution for the benefit of the conspirators, including the defendant and

his wife. Specifically, in October and November 2016, the defendant and his wife assisted

Chinese females who traveled from Texas and New York, as well as from New York to Boston,

Massachusetts, with ground transportation from Boston to New Hampshire, Portland, and South

Portland, Maine. Once in the greater Portland area, the defendant and his wife also transported

the Chinese females from hotel to hotel every few days to avoid law enforcement detection.

        On about December 5, 2016, Chinese Female (“CF”) #2 was transported by the defendant

and his wife from Massachusetts to Rhode Island where the three gambled; and, later the same

day, the defendant and his wife transported CF #2 to the New Hampshire residence for the

evening. The next day, CF #2 was transported to Maine by the defendant. On about December

14, 2016, the defendant and his wife arranged through Uber and otherwise for CF #2’s

transportation from Maine, to New Hampshire and then to Massachusetts.

        On about August 18, 2016, Defendant Miao wired approximately $3,190 (on behalf of a

conspirator) to Co-Conspirator A, who was outside of Maine, for purposes of advertising

Chinese females for prostitution at locations rented by, or associated with, the defendant and his

wife.




                                                  4
Case 2:18-cr-00178-DBH Document 149 Filed 07/27/21 Page 5 of 6                      PageID #: 568




       On about September 18, 2016, Defendant Miao wrote a check on a joint checking

account she shared with the defendant in the amount of $1,880, payable to Co-Conspirator A so

that Co-Conspirator A could pay for the cost of advertising Chinese females for prostitution on

Backpage.com.

       Beginning on about August 18, 2016, and continuing until at least October 30, 2017, on

at least 33 occasions, the defendant and his wife leased, rented, or agreed to pay for the cost of

identified locations (houses of prostitution or hotel rooms) in Maine, New Hampshire, and

Vermont where identified Chinese females were actual or registered guests. Co-conspirators

outside of Maine advertised the Chinese females online for prostitution using Backpage.com.

The advertisements directed customers to the identified locations. While the Chinese females

were engaged in prostitution at these locations, Defendant Miao remained in close

communication with them via WeChat and cellular telephones regarding location changes and

the collection of prostitution proceeds.

                                  THE MANN ACT COUNTS

       From about October 7, 2016 until about December 6, 2016, at the direction of his wife,

the defendant was involved in organizing, planning, and directing the transportation of the

following Chinese females from New Hampshire to Maine for purposes of prostitution: CF #9

(October 7th), CF #1 (October 10th), and CF #2 (December 6th). On about October 10, 2016,

again at the direction of his wife, the defendant was involved in the same with regard to the

transportation of CF #6 from Maine to New Hampshire.

Date: July 27, 2021                                   Donald E. Clark
                                                      Acting United States Attorney

                                                      /s/ Darcie N. McElwee
                                                      Assistant U.S. Attorney



                                                  5
Case 2:18-cr-00178-DBH Document 149 Filed 07/27/21 Page 6 of 6                     PageID #: 569




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

                                CERTIFICATE OF SERVICE

       I hereby certify that on July 27, 2021, I electronically filed the Prosecution Version with
the Clerk of Court using the CM/ECF system, which will send notification of such filing to the
following:

                       Mingli Chen, Esq,
                       mchen@mchenlaw.com

                       John Simpson, Esq.
                       john@simpsonlaw.me


                                                     Donald E. Clark
                                                     Acting United States Attorney


                                                     /s/ Darcie N. McElwee
                                                     Assistant United States Attorney
                                                     United States Attorney’s Office
                                                     100 Middle Street
                                                     Portland, ME 04101
                                                     (207) 771-3227
                                                     Darcie. McElwee@usdoj.gov




                                                 6
